101 F.3d 705
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.LUCKY BRAND DUNGAREES, INC., Plaintiff/Counter-Defendant/Appellant,v.PACIFIC SUNWEAR OF CALIFORNIA, INC.,Defendant/Counter-Plaintiff/Appellee.
    No. 96-56055.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 5, 1996.*Decided Nov. 13, 1996.
    
      Before:  PREGERSON, REINHARDT and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This appeal from the denial of a motion for a preliminary injunction comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      "A district court's order regarding preliminary injunctive relief is subject to limited review."   Does 1-5 v. Chandler, 83 F.3d 1150, 1152 (9th Cir.1996).  The denial of a preliminary injunction "should be upheld unless the court incorrectly applied the law, relied on clearly erroneous factual findings, or otherwise abused its discretion."   Id.
    
    
      4
      Here, the district court denied appellant's request for, inter alia, a preliminary injunction seeking to enjoin appellee's use on jeans of a long, narrow rectangular label, positioned vertically inside the fly and facing outward so as to be visible when the fly is open.  The record before us shows that the court did not rely on an erroneous legal premise, clearly erroneous factual findings, or abuse its discretion in concluding that appellant failed to show either a combination of probable success on the merits and the possibility of irreparable injury without an injunction, or that serious questions were raised and that the balance of hardships tipped decidedly in its favor.  See id.
    
    
      5
      Accordingly, the denial of a preliminary injunction is
    
    
      6
      AFFIRMED.
    
    
      
        *
         The panel finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    